OAO 247 (NC/W 03/08) Order Regarding Motion for Sentence Reduction


                                    UNITED STATES DISTRICT COURT
                                                                     for the
                                                      Western District of North Carolina

                   United States of America
                              v.
                                                                       )   Cas
                                                                       )   e
                                                                       )   No: 3:03CR109-03
                      James Thomas Gaddy
                                                                       )   US
                                                                       )   M
                                                                       )   No: 17849-058
Date of Previous Judgment: 11/01/2005                                      Aaron E. Michel
(Use Date of Last Amended Judgment if Applicable)                          Defendant’s Attorney

                  Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)

       Upon motion of  the defendant  the Director of the Bureau of Prisons  the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion,
IT IS ORDERED that the motion is:
        DENIED.     GRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in
                    the last judgment issued) of 144        months is reduced to time served plus 10 days .
I. COURT DETERM INATION OF GUIDELINE RANGE (Prior to Any Departures)
Previous Offense Level: 33                       Amended Offense Level:                                    31
Criminal History Category:           VI                                    Criminal History Category:      VI
Previous Guideline Range:            235        to 293      months         Amended Guideline Range:        188       to 235   months
II. SENTENCE RELATIVE TO AMENDED GUIDELINE RANGE
 The reduced sentence is within the amended guideline range.
 The previous term of imprisonment imposed was less than the guideline range applicable to the defendant at the time
   of sentencing as a result of a departure or Rule 35 reduction, and the reduced sentence is comparably less than the
   amended guideline range.
 Other (explain):




III. ADDITIONAL COMMENTS


Except as provided above, all provisions of the judgment dated 11/01/2005                         shall remain in effect.
IT IS SO ORDERED.

Order Date:        July 30, 2008


Effective Date:
                     (if different from order date)


                  Case 3:03-cr-00109-RJC                    Document 197            Filed 07/30/08       Page 1 of 2
Case 3:03-cr-00109-RJC   Document 197   Filed 07/30/08   Page 2 of 2
